     USDC IN/ND case 3:19-cv-00072 document 1 filed 02/04/19 page 1 of 5


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                        SOUTH BEND DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )
                                              )   Case No. 3:19cv00072
              V.                              )
                                              )
BRIAN K. APPLE,                               )
PAULA L. APPLE, a/k/a PAULA L.                )
SHAWGO, a/k/a PAULA LOYD,                     )
n/k/a PAULA L. BOWERS,                        )
                                              )
                   Defendants.                )



                                  COMPLAINT

      Comes now Plaintiff United States of America, by counsel, for and on

behalf of its agency, U.S. Department of Agriculture (USDA), and for its

cause of action alleges the following:

                                 JURISDICTION

      1.    This Court has jurisdiction pursuant to 28 U.S.C. Section 1345

and venue is proper.

                                 COUNT ONE
                          (Default on Promissory Note)

      2.   On or about October 1, 1992, Defendants Brian K. Apple and

Paula L. Apple, a/k/a Paula Shawgo, a/k/a Paula Loyd, n/k/a Paula L. Bowers,
     USDC IN/ND case 3:19-cv-00072 document 1 filed 02/04/19 page 2 of 5


herein “Defendant Paula L. Apple” executed and delivered to Plaintiff a

promissory note in the amount of $57,000.00. A copy of said note is attached

hereto as AExhibit 1.”

      3.    To secure payment of said promissory note Defendants Brian K.

Apple and Paula L. Apple executed and delivered to Plaintiff a mortgage on

the following described real estate in Elkhart County, to wit:

      A part of the Northeast Quarter of the Northeast Quarter of Section 36,
      Township 35 North, Range 4 East, Locke Township, Elkhart County,
      Nappanee, Indiana, and described as follows:

      Commencing at the Southwest Corner of Lot #1 in Locke Court
      Subdivision as recorded in Plat Book 10, page 3, Elkhart County,
      Indiana; thence North (assumed bearing) in the West line of said
      Subdivision, a distance of 360.0 feet to the point of beginning of this
      description; thence West, a distance of 145.0 feet to the East line of
      Nappanee Street; thence North on said East line a distance of 60.0 feet;
      thence East, a distance of 145.0 feet to the West line of said
      Subdivision; thence South on said West line, a distance of 60.0 feet to
      the aforementioned point of beginning.

      Commonly known as: 709 N. Nappanee Street, Nappanee, IN 46550

      (the “Subject Property”).

The mortgage was recorded in the Office of the Recorder of Elkhart County,

Indiana, on November 12, 1992, as Document No. 92 027513, a copy of which

is attached hereto as “Exhibit 2.”

      4.    As a part of this transaction, Defendants Brian K. Apple and

Paula L. Apple executed a Subsidy Repayment Agreement (“Subsidy
                                       2
     USDC IN/ND case 3:19-cv-00072 document 1 filed 02/04/19 page 3 of 5


Agreement”), a copy of which is attached hereto as AExhibit 3.@ By this

agreement, the United States agreed to defer a portion of the accruing

interest so long as there was no default, but in the event of a default, the

credited interest becomes due as an in rem charge secured by the mortgage.

There is due under the Subsidy Agreement the sum of $13,134.38.

      5.    Plaintiff is the holder of the promissory note, mortgage and

Subsidy Agreement.

      6.   Defendants Brian K. Apple and Paula L. Apple are in default in

repayment of the obligations due to Plaintiff under the terms of the

promissory note.

      7.    Defendants Brian K. Apple and Paula L. Apple owe Plaintiff,

pursuant to the note and mortgage, the sum of $84,856.48 consisting of

$68,911.34 in principal and $15,945.14 in accrued interest as of October 22,

2018, with interest thereafter at the rate of $13.9702 per day to the date of

judgment, plus interest credit under the Subsidy Agreement in the sum of

$13,134.38. In addition, the government may incur additional costs and

expenses associated with the preservation and sale of the real property,

which may become due and owing under the terms of the note and mortgage.




                                        3
     USDC IN/ND case 3:19-cv-00072 document 1 filed 02/04/19 page 4 of 5


                                     COUNT TWO
                                     (Foreclosure)

      8.      Plaintiff restates and incorporates by reference allegations 1

through 7 as though fully stated herein.

      9.      The mortgage of Plaintiff is prior and paramount to the interest

of all other parties to this action.

   WHEREFORE, Plaintiff respectfully prays that the Court:

      A. Enter judgment in rem against the mortgaged real estate in the amount of

           $97,990.86, together with interest accruing after October 22, 2018, to date

           of judgment at the rate of $13.9702 per day, plus any such further costs

           and expenses as may be incurred to the date of sale of the property and in

           personam against against Defendants Brian K. Apple and Paula L.

           Apple, in the amount of $84,856.48 (the in rem judgment minus the

           differed interest or subsidy recapture in the amount of $13,134.38), and

           all other costs herein;

      B. Enter an order declaring Plaintiff’s mortgage to be prior and

           paramount to the interests of all other parties and determining the

           amount and priorities of the interests of all parties to the real estate;

           and an order foreclosing the equity of redemption of defendants in

           the real estate;

      C. Enter an order directing the sale of the property by the U.S.
                                           4
USDC IN/ND case 3:19-cv-00072 document 1 filed 02/04/19 page 5 of 5


   Marshall and application of the proceeds first to the costs of sale,

   second to payment of the judgment of Plaintiff, with any then-

   remaining proceeds paid to the Clerk of the Court to be disposed of

   as the Court shall direct;

D. Issue a Writ of Assistance upon proper Praecipe if the purchaser of

   the real estate be denied possession; and

E. Award such other and further relief as is just and proper in the

   premises.

                            Respectfully submitted,

                            THOMAS L. KIRSCH II
                            UNITED STATES ATTORNEY


                      By:   s/Deborah M. Leonard
                            Deborah M. Leonard
                            Assistant United States Attorney
                            United States Attorney’s Office
                            Northern District of Indiana
                            E. Ross Adair Federal Bldg, U.S. Courthouse
                            1300 South Harrison Street, Room 3128
                            Fort Wayne, IN 46802-3489
                            Tel: (260) 422-2595
                            Fax: (260) 426-1616
                            Email: deborah.leonard@usdoj.gov




                                 5
r. ·    USDA·FmHA
        Form FmHA 1940-16                                     PROMISSORY
  .~            USDC IN/ND
        (Rev. 4-91)                          case 3:19-cv-00072 document NOTE
                                                                         1-1 filed 02/04/19 page 1 of 3

         TYPE OF LOAN                                                                                        STATE
                                                                                                                         INDIANA
             RURAL HOUSING                                                                                  COUNTY
                                                                                                                         F:f.KHART
                                                                                                            CASE NO.
                                                                                                                     15-20-377801664


                                                                                                   Date        OCTOBER 1                      , 19K.
           FOR VALUE RECEIVED, the undersigned (whether one or more· persons, herein called "Borrower") jointly and
        severally promise to pay to the order of the United States of America, acting through the Farmers Home Administration,

        United States Department of Agriculture, (herein called the "Government") at its office in - - - - - - - - - - - - - -

                                                    WARSAW. IN 46580
        THE PRINCIPAL SUM OF                        FIFTY SEVEN TIIOITSAND AND N0/1 00---------------------------------

        DOLLARS($               57,000 00                                                             ), plus INTEREST on the UNPAID PRINCIPAL of

       SEVEN AND THREE FOURTIIS                                    PERCENT (    7 · 75        %) PER ANNUM.




        Payment of the said Principal and Interest shall be as agreed between the Borrower and the Government using one of three
        alternatives as indicated below: (check one)


        01.          Principal and Interest payments shall be deferred. The interest accrued to                                                 , 19_ _

        shall be added to the Principal. Such new Principal and later accrued Interest shall be payable in                   regular
        amorti:l:ed installments on the dates indicated in the box below. Borrower authorizes the Government to enter the amount of

        such new Principal herein S                                                      and the amount of such regular installments in the box below,
        when such amounts have been determined.

        0   II.      Payment of Interest shall not be deferred. Installments of accrued Interest shall be payable on the

        of each                                        beginning on                                , 19 _ _ , through                         , 19 - - •

        Principal and later accrued Interest shall be paid in                               installments as indicated in the box below;

        rn. III. Payments shall not be deferred. Principal and Interest shall be paid in                     396              installments as indicated
        in the box below:



        s 400.00                                                               on           NOVEMBER 1                                    , 19..21_, and

        S 400 •00                                            thereafter on the   1ST       of each MON'JH
        until the PRINCIPAL and INTEREST are fully paid except tho.t the: FINAL INSTALLMENT of the entire indebtedness

        evidenced hereby, if not sooner paid, shall be due and PAY ABLE TIITRTY TiffiEE  (                       ) YEARS
        from the DATE of this NOTE. The consideration herefor shall support any agreement modifying the foregoing schedule
        of payments.



                                                                          EXHIBIT 1                                                             lKev. 4-YJ)
         "U.S. Goverrvnenl Pmtlng Olllce: 1991 -   554- H   'Oil                    l"OSifiOn ,L                             J:<mHA 1 Y4U·l b
,..
                USDC IN/ND case 3:19-cv-00072 document 1-1 filed 02/04/19 page 2 of 3

      If the total amount of the loan is not advanced at the time of loan closing, the loan shall be advanced to the Borrower as
      requested by Borrower and approved by the Government. Approval of the Government is mandatory provided the advance is
      requested for a. purpose authorized by the Government. Interest shall accrue on the amount of each advance from its actual
      date as shown on the reverse hereof. Borrower authorizes the Government to enter the amount and date of such advance in
      the Record of Advanc'!s.

      Payment of principal and interest shall be applied in accordance with FmHA accounting procedures in effect on the date of
      receipt of the payment. Borrower agrees to pay late charges in accordance with FmHA regulations in effect when a late
      charge is assessed.

      Prepayments of scheduled in·stallments, or any portion thereof, may be made at any time of the option of Borrower. Refunds
      and extra payments, as defined in the regulations (7CFR §1951.8) of the Farmers Home Administration according to the
      source of funds involved, shall, after payment of interest, be applied in accordance with FmHA regulations and accounting
      procedures in effect on the dace of receipt of payments,

      Borrower agrees that the Government at any time may assign this note. If the Government assigns the note and insurel the
      payment thereof, and in such case, though the note is not held by the Government, Borrower shall continue to pay to the
      Government, as collection agent for the holder, all installments of principal and interest as scheduled herein.

      If this note is held by an insured lender, prepayments made by Borrower may, at the option of the Government, be remitted
      by the Government to the holder promptly or, except for final payment, be retained by the Government and remitted to the
      holder on either a calendar quarter basis or an annual installment due date basis. The effective date of any prepayment
      retained and remitted by the Government to the holder on an annual installment due date basis shall be the date of the pre-
      payment by Borrower, and the Government will pay the interest to which the holder is entitled accruing between the effective
      date of any such prepayment and the date of the Treasury check to the holder.

      CREDIT ELSEWHERE CERTIFICATION: Borrower hereby certifies that he(she is unable to obtain sufficient credit else-
      where to finance his/her actual needs at reasonable rates and terms, taking into consideration prevailing private and coopera-
      tive rates and terms in or near his/her community for loans for similar purposes and periods of time, and that the loa.n
      evidenced hereby shall be used solely for purposes authori~ed by the Government.

      LEASE OR SALE OF PROPERTY: lf the property constructed, improved, purchased, or refinanced in whole or in part
      with the loan evidenced hereby is (1} leased or rented with an option to purchase, (2) leased or rented without option to
      purchase for a term exceeding 3 years, or (3) sold or title is otherwise conveyed, volunta.rily or involuntarily, the Government
      may at its option declare the indebtedness evidenced hereby immediately due and payable.

      REFINANCING AGREEMENT: Borrower hereby agrees to provide periodic financial information as requested by the
      Government. If at any time it shall appear to the Government that Borrower may be able to obtain a loan from a responsible
      cooperative or private credit source at reasonable rates and terms for loans for similar purposes and period of time, Borrower
      will, at the Government's request, apply for and accept a loan in sufficient amount to pay this note in full and, if the lender
      is a cooperative, to pay for any necessary stock. This paragraph and the preceding paragraph shall not apply to any comaker
      signing this note pursuant to Section 502 of the Housing Act of 1949 to compensate for deficient repayment ability of
      other undersigned person(s).

      CREDIT SALE TO NONPROGRAM BORROWER: The provisions of the paragraphs entitled "Credit Elsewhere Certifica-
      tion," and "Refinancing Agreement" do not apply if ( 1) this promissory note represenu in whole or part payment for prop-
      erty purchased from the Government and (2) the loan represented by this promissory note was made to the borrower as ln
      nonprogram borrower under Tide V of the Housing Act of 1949, as amended, and regulations promulgated thereunder.

      DEFAULT: Failure to pay when due any debt evidenced hereby or perform any covenant or agreement hereunder shall
      constitute default under this instrument and any other instrument evidencing a debt of Borrower owing to, insured or Guar-
      anteed by the Government or securing or otherwise relating to such a debt; and default under any such other instrument shall
      constitute default hereunder. UPON ANY SUCH DEFAULT, the Government at its option may declare all or any part of
      any such indebtedness immediately due a.nd payable.

      SUBSIDY REPAYMENT AGREEMENT: Borrower !lgrees to the repayment (recapture) of subsidy granted in the form of
      interest credits. Subsidy will be repaid when the borrower's account is settled by sale of the security property, refinancing
      or payment in full and will be calculated in accordance with regulations in effect at the time of settlement. Recapture is
      based on property appreciation and.can equal all, some or none but never exceed the amount of subsidy received.

      This Note is given as evidence of a loan to Borrower made 01· insured by the Government pursuant to the Title V of the
      Housing Act of 1949 and for the type of loan as is indicated in the "TYPE OF LOAN" block above. This Note shall be
      subject to the present regulations of the Farmers Home Administration and to its future regulations not inconsistent with
      the express provisions hereof.
                                                             EXHIBIT 1
      WARNING: Failure to fully disclose accurate and truthful financial information may result in the termination of program
      assistance currentlY beinR received, and the denial of future program assistance under USDA's Debarment regulations, 7 CFR
.--            USDC IN/ND case 3:19-cv-00072 document 1-1 filed 02/04/19 page 3 of 3
      Presentment, protest, and notice arc hereby waived.

                                                                                            /s/ Brian K. Apple                                            (SEAL)
                                                                                             BRIAN K. APPLE                  (BORROWER)
                                                                                            lsi PavJa I. Apple                                            (SEAL)
                                                                                             PAULA L. APPLE                (CO-BOR!WW!:R)


                                                                                                    709 N NAPPANEE

                                                                                                    NAPPANEE, IN 46550




                                                                                RECORD OF ADVANCES
               AMOUNT                          DATE                         AMOUNT                  DATE               AMOUNT                   DATE
      (1) S    S7 .000                                                (8J s                                   UlSJ     $
      (2) $                                                           (9)   s                                 lJl~_p
      (3)  s                                                      (10) s                                      Lt 17J s
      (4) $                                                       ( lll $                                      ( l8J s
      {5) $                                                     ! (   12)   s                                 l (19)   $
      (6)  s                                                      t 13) s                                     l (20)   s
      (7)  s                                                    ' ( 14) s                                     !(21)    s              i
                                                                                                      TOT,a.t_lS ___ ·--··      _j_




                                                                                                                                                       (l~r·v.
                                                                                EXHIBIT  1
                                                                                     Position   2                              f';11ll/\ I 1.HO 1 (,             1\ 'll)
      'U.S. GovorniT<'nl f'rlnllng Otnca: lOili- ~54-IQ   19.
                                                                                                                                                                                I
            USDC IN/ND case 3:19-cv-00072 document 1-2 filed 02/04/19 page~~nor.,.,__~
                                                                           1 of 5
         USDA-FmHA                                                     ~--·_ilk-~~
         Form FmHA 427-1 IN                       ' ,: ZL~H~RT COUNTY RECORDER    ".,
                                                           PEGG'( A. HILLER
         (Rev. 12-87)
                                              REAL ESfJ\..'U} M@ik~A:"&E FOR INDIANA                                                               92 027513
 u
 z
 -             THIS MORTGAGE is made and entered into by               BRIZI.N K                                AI?PT.F AND Pl:.Ilt ll L            ~F
 '3..         HUSBAND AND WIFE                              -                                                                 /
u
 0
 ~                                                           Ocr Lti<JJ t~t"92
Vl       residing in _ __;ELKHART::::::::.::::.:::..:.;_ _ _ _ _ _ _ _ _ _ _ _ _ _ _"-..,_..:·~-------- County, Indiana, whose post office
 w                                                           ...   "')'.               ·:;;-..,·,.- ..··:;~.(·.:-:;,
<(       addressis       709 N. NAPPANEE STREEI'             '·'·';~t~;~'r(;:.;;:~-~~j"-                                                NAPPANEE       ,Indiana   46550     ,
z                                                                  '   I   -·~   ,.,     . '"   \   :-~   . '   .   . •   '   :-\...,


         herein called "Borrower" and the United States of .Ainfthica', ~~till.g th'r'ciugh the Farmers Home Administration, United States
<(
::r:     Department of Agriculture, herein called the "Government":
~              WHEREAS Borrower is indebted to the Government as evidenced by one or more promissory note(s) or assumption
~        agreement(s), herein called "note," which has been executed by Borrower, is payable to the order of the Government, au-
         thorizes acceleration of the entire indebtedness at the option of the Government upon any default by Borrower, and is
         described as follows:
                                                                                           Annual Rate                  Due Date of Final
         Date of Instrument                     Principal Amount                            of Interest                     Installment

f\• · OCTOBER 1 1 1992                          $57,000.00                                                                    7.75                           10-01-2025
 ' (




                 Recording of this document to replace document #92 023675 for correction.
                 Re-recording of this document to add complete legal description.
                 (The interest rate for limited resource farm ownership or limited resource operating loan(s) secured by this instrument
           may be increased as provided in the Farmers Home Administration regulations and the note.)
                  And the note evidences a loan to Borrower, and the Government, at any t:iroe, may assign the note and insure the
           p~yment thereof pursuant to the Consolidated Farm and Rural Development Act, or Tide V of the Housing Act of 194 9, or
           .ny other statute administered by the Farmers Home Administration.
       "--       And .it is the purpose and intent of this instrument that, among other things, at all times when the note is held by the
           Government, or in the event the Government should assign this instrument without insurance of the note, this instrument
           shall secure payment of the note; but when the note is held by an insured holder, this instrument shall not secure payment of
           the note or attach to the debt evidenced thereby, but as to the note and such debt shall constitute an indemnity mortgage to
           secure the Government against loss under its insurance contract by reason of any default by Borrower;
                  And this instrument also secures the recapture of any interest credit or subsidy which may be granted to the Borrower
           by the Government pursuant to 42 U.S.C. §1490a:
                  NOW, THEREFORE, in consideration of the loan(s) and (a) at all times when the note is held by the Government, or in
           the event the Government should assign this instrument without insurance of the payment of the note, to secure prompt
           payment of the note and any renewals and extensions thereof and any agreements contained therein, including any provision
           for the payment of an insurance or other charge, (b) at all times when the note is held by an insured holder, to secure per-
           formance of Borrower's agreement herein to indemnify and save harmless the Government against loss under its insurance
           contract by reason of any default by Borrower, and (c) in any event and at all times to secure the prompt payment of all
           adv:u1ces and expenditures made by the Government, with interest, as hereinafter described, and che performance of every
           covenant and agreement of Borrower contained herein or in any supplementary agreement, Borrower does hereby mortgage,

         assign and warrant unto the Government the following property situated in the State of Indiana, County(ies) o f - - - - - -

             ELKHART
           A PART OF THE NORTHEAST QUARTER OF THE NORTHEAST QUARTER OF SECI'ION 36 1 'rowNSHIP 35
           NORTH, RANGE 4 EAST 1 I1X:1<E TOWNSHIP 1 ELKHART CO(lli"TY 1 NAPPANEE, INDIANA.

                  See complete legal description on Exhibit A


                                                                                                                                                   FmHA 427-1 IN (Rev. 12-87)



                                                          EXHIBIT 2
           /

   ... '
               USDC IN/ND case 3:19-cv-00072 document 1-2 filed 02/04/19 page 2 of 5
                                    EXHIBIT A


A part of the Northeast Quarter of the Northeast Quarter of Section
36, Township 35 North, Range 4 East, Locke Township, Elkhart County,
Nappanee, Indiana, and described as follows:

Commencing at the Southwest Corner of Lot #1 in Locke Court
Subdivision as recorded in Plat Book 10, page 3, Elkhart County,
Indiana; thence North <assumed bearing) in the West line of said
Subdivision, a distance of 360.0 feet to the point of beginning of
this description; thence West, a distance of 145.0 feet to the East
line of Nappanee Street; thence North on said East line a distance of
60.0 feet; thence East, a distance of 145.0 feet to the West line of
said Subdivision; thence South on said West line, a distance of 60.0
feet to the aforementioned point of beginning.




                                           EXHIBIT 2
       USDC IN/ND case 3:19-cv-00072 document 1-2 filed 02/04/19 page 3 of 5




 together with all rights (including che rights to mining products, gravel, oil, gas, coal or other minerals), interests, easements,
 hereditaments and appurtenances thereunto belonging, the rents, issues, and profits thereof and revenues and income there-
 from, all improvements and personal property now or later attached thereto or reasonably necessary to the use thereof,
 including, but not limited to, ranges, refrigerators, clothes washers, clothes dryers, or carpeting purchased or financed in
 whole or in part with loan funds, all water, water rights, and water stock pertaining thereto, and all payments at any time
 owing to Borrower by virtue of any sale, lease, transfer, conveyance, or condemnation of any part thereof or interest there-
 in-all of which are herein called "the property";
        TO HAVE AND TO HOLD the property unto the Government and its assigns forever in fee simple.
        BORROWER for Borrower's self, Borrower's heirs, executors, administrators, successors and assigns WARRANTS THE
TITLE to the property to the Government against all lawful claims and demands whatsoever except any liens, encumbrances,
easements, reservations. or conveyances specified hereinabove, and COVENANTS AND AGREES as follows:
        ( 1 J To pay promptly when due an-y indebtedness to the Government hereby secured and to indemnify and save harm-
less the Government against any loss under its insurance of payment of the note by reason of any default by Borrower. At
all times when the note is held by an insured holder, Borrower shall continue to make payments on the note to the Govern-
ment, as collection agent for the hold.:r.
        (2) To pay to the Government such fees and other charges as may now or hereafter be required by regulations of the
Farmers Home Administration.
        (3)   If required by the Government, to make additional monthly payments of 1/12 of the estimated annual ta.xes,
assessments, insurance premiums and other charges upon the mortgaged premises.
        (4) Whether or not the note is insured by the Government, the Government may at any time pay any other amounts
including advances for payment of prior and/ or junior liens, required herein to be paid by Borrower and not paid by Bor-
rower when due. as well as any costs and expenses for the preservation, protection, or enforcement of this lien, as advances
for Borrower's account. All such advances shall bear interest at the rate borne by the note which has the highest interest
rate.
        15)   All advances by the GovernT'!e11c. including advances for pavment of prior and/or junior liens, in addition to any
advances required by the terms of the note, as described by chis instrument, with interest shall be immediately due and pay-
able by Borrower to the Government without demand at the place designated in the latest note and shall be secured hereby.
No such advance by the Government shall relieve Borrower from breach of Borrower's covenant to pay. Any payment made
by Borrower may be applied on the note or any indebtedness to the Government secured hereby, in any order the Govern-
ment determines.
        (6) To use the loan evidenced by the note solely for purposes authorized by the Government.
        (7) To pay when due all ra..xes, liens, judgments, encumbrances, and assessments lawfully attaching to or assessed
against the property, including all charges and assessments in connection with water, water rights, and water stock pertaining
to or reasonably necessary to the use of the real property described above, and promptly deliver to the Government without
demand receipts evidencing such payments.
        (8) To keep the property insured as required by and under insurance policies approved by the Government and, at
its request to deliver such policies to the Government.




·-     ( 9) To maintai ·              ._ ~        EXHIBIT           2
__ -'- - and h us bandm"n);I..Q
m  a  good            n unprovements
                                _____   in good repair ~nr< __ ,_
                                                              L. .•
                            ----·-----
    ·- ----···-·· --·---------- ...
                          USDC        ~·
                                      ...
                                   IN/ND  case 3:19-cv-00072          document 1-2 filed 02/04/19 page 4 of 5

         (9) To maintain imProvements in good repair and make repairs required by the Government; operate the property
 in a good and husbandmanllke manner: comply with such farm conservation practices and farm and home management plans
 as the Government from time to time may prescribe; and not to abandon the property, or cause or permit waste, lessening or
 impairment of the security covered hereby, or, without the written consent of the Government, cut, remove, or lease any
 timber, gravel, oil, gas, coal, or other minerals except as may be necessary for ordinary domestic purposes.
         (10) To comply with all laws, ordinances, and regulations affecting the property.
        (11) To pay or reimburse the Government for expenses reasonably necessary or incidental to the protection of the lien
 and priority hereof and to the enforcement of or the compliance with the provisions hereof and of the note and any supple-
 mentary agreement (whether before or after default), including but not limited to costs of evidence of title to and survey of
 the property, costs of recording this and other instruments, attorneys' fees, trustees' fees, court costs, and expenses of ad-
 vertising, selling, and conveying the property.
         (12) Except as otherwise prm'ided in the Farmers Home Administration regulations. neither the propertl" nor any
 portion thereof or interest therein shall be leased. assigned, sold, transferred, or encumbered. voluntarily or otherwise. with-
 out the written consent of the Governmenc. The Government shall have the sole and exclusive rights as mortgagee hereunder,
 including but not limited to the power to grant consents, partial releases, subordinations. and satisfaction. and no insured
 holder shall haw ;wr ril!ht. ritle 0c intcre>r in or to the lien or any benefits hereof.
        (13) At all reasonable times the Government and its agents may inspect the property to ascertain whether the cov-.
 enants and agreements contained herein or in any supplementary agreement are being performed.
        (14) The Government may (a) extend or defer the maturity of, and renew and reschedule the payments on, the debt
evidenced by the note or any indebtedness to the Government secured by this instrument, (b) release any party who is
liable under the note or for the debt from liability to the Government, (c) release portions of the property anq subordinate
its lien, and (d) waive any other of its rights under this instrument. Any and all this can and will be done without affecting
the lien or the priority of this instrument or Borrower's or any other party's liability to the Government for payment of the
 note or debt secured by this instrument unless the Government says otherwise in writing. HOWEVER, any forbearance by
the Government-whether once or often-in exercising any right or remedy under this instrument, or otherwise afforded by
applicable law, shall not be a waiver of or preclude the exercise of any such right or remedy.
        (15) If at any time it shall appear to the Government that Borrower may be able to obtain a loan from a production
credit association, a Federal land bank, or other responsible cooperative or private credit source, at reasonable rates and
terrns for loans for similar purposes and periods of time, Borrower will, upon the Government's request, apply for and accept
such loan in sufficient amount to pay the note and any indebtedness secured hereby and to pay for any stock necessary to be
purchased in a cooperative lending agency in connection with such loan.
        (16) Default hereunder shall constitute default under any other real estate, or under any personal property or other,
security instrument held or insured by the Government and executed or assumed by Borrower, and default under any such
other security instrument shall constitute default hereunder.
        (17) SHOULD DEFAULT occur in the performance or discharge of any obligation in this instrument or secured by
this instrument, or should the parties named as Borrower die or be declared incompetent, or should any one of the parties
named as Borrower be discharged in bankruptcy or declared an insolvent or make an assignment for the benefit of creditors,
the Government, at its option, with or without notice may: (a) declare the entire amount unpaid under the note and any
indebtedness to the Government hereby secured immediately due and payable, (b) for the account of Borrower incur and pay
reasonable expenses for repair or maintlinance of and take possession of, operate or rent the property, (c) upon application
by it and production of this instrument, without other evidence and without notice of hearing of said application, have a
receiver appointed for the property, with the usual powers of receivers in like cases, (d) foreclose this instrument as provided
herein or by law, and (e) enforce any and all other rights and remedies provided herein or by present or future law.
        (18) The proceeds of foreclosure sale shall be applied in the following order to the payment of: (a) costs and expenses
incident to enforcing or complying with the provisions hereof, (b) any prior liens required by law or a competent court to
be so paid, (c) the debt evidenced by the note and all indebtedness to the Government secured hereby, (d) inferior liens of
record required by law or a competent court to be so paid, (e) at the Government's option, any other indebtedness ofBor-
rowe~ owing to or insured by the Government, and (f) any balance to Borrower. At foreclosure or other sale of all or any
part of the property, the Government and its agents may bid and purchase as a stranger and may pay the Government's
share of the purchase price by crediting such amount on any debts of Borrower owing to or insured by the Government,
in the order prescribed above.
        (19) Borrower agrees that the Government will not be bound by any present or future State laws prescribing any
statute of limitations or limiting th-e conditions which the Government may by regulation impose, including the interest rate
it may charge, as a condition of approving a transfer of the property to a new Borrower. Borrower expressly waives the
benefit of any such State laws. Borrower hereby waives, to the fullest extent Borrower may lawfully do so under State law,
the benefit of all State laws (a) providing for valuation, appraisal, homestead or exemption of the property, (b) prohibiting
maintenance of an action for a deficiencl judgment or limiting the amount thereof or the time within which such action may
be brought, or (c) allowing any right o redemption or possession following any foreclosure sale. Borrower also hereby re-
linquishes, waives and conveys all rights, inchoate or consummate, of descent, dower, curtesy, and homestead.
        (20) If any part of the loan for which this instrument is given shall be used to finance the purchase, construction or
repair of property to be used as an owner-occupied dwelling (herein called "the dwelling") and if Borrower intends to sell or
rent the dwelling and has obtained the Government's consent to do so (a) neither Borrower nor anyone authorized to act for
Borrower will, after receipt of a bona fide offer, refuse to negotiate for the sale or rental of the dwelling or will otherwise
make unavailable or deny the dwelling to anyone because of race, color, religion, sex or national origin, and (b) Borrower
recognizes as illegal and hereby disclaims, and will not comply with or attempt to enforce any restrictive covenants on the
dwelling relating to race, color, religion, sex or national origin.




                                                             EXHIBIT 2
            USDC IN/ND case 3:19-cv-00072 document 1-2 filed 02/04/19 page 5 of 5

     . (21) Bo.rrower further agrees tha~ no loan proceeds will be used for a purpose that will contribute to excessive erosion
of h~ghly erod1ble land or to the convemon of wetlands to produce an agricultural commodity, as further explained in 7 CPR
Part 1940, Subpart G, Exhibit M.
       (22) This instrument shall be subject to the present regulations of the Farmers Home Administration, and to its future
regulations not inconsistent with the express provisions hereof.
       (23) Notices given hereunder shall be sent by certified mail, unless otherwise required by law, addressed, unless and
until some other address is designated in a notice so given, in the case of the Government to Farmers Home Administration,
United States Department of Agriculture, at Indianapolis, Indiana 46224, and in the case of Borrower to Borrower at the
address shown in the Farmers Home Administration Finance Office records (which normally will be the same as the post
office address shown above).
       (24) If any provision of this instrument or application thereof to any person or circumstances is held invalid, such
invalidity will not affect other provisions or applications of the instrument which can be given effect without the invalid
provision or application, and to that end the provisions hereof are declared to be severable.




       IN WI1NESS WHEREOF, Borrower has hereunto set Borrower's hand(s) and seal(s) this _ _FuiB..~i.::S:>:.TL...._ _ _ _ day

of _ _..::;;OCI'O~~B:.:::ER~------, 19           2..?.




STATE OF INDIANA

COUNTY OF                  ELKHART

       Be fore me,         WANETA S'lllrZMAN                                              , a Notary Public, this -.!.1Jo<S..:T_ __

day of _ _,.ocro""""'~BER~'-------, 19 92 ,                    BRIAN K. APPLE

and                              .•_t,A:iJP;:JP;:.JIU;,Et:...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ acknowledged.th~eoiiil;m
      -----iPuA~Uiu..w.Ae-..!.I..,                                                                                            of the
annexed mortgage.
                                                                                                        ,...····~~·~~,~·~/-~>- :
                                                                                                                       _}'"'··~ ~'




       (SEAL)                                                                                              '•.

My commission expires _-..J1u0J;-=...r..1~5t=-:...:9~6:.!-----------

     The form of this instrument was prepared by the Office of the General Counsel of the United States Department
of Agriculture, and the material in the blank spaces in the form was inserted by or under the direction of

 AMANDA LEE FOR THE FARMERS HOME ADMINISTRATION

 217 EAST BELL DRIVE, WARSAW, INDIANA 46580



* Names of mortgagors and Notary must be printed, ryped, or stamped just beneath their signatures.




                                                         EXHIBIT 2
USDC IN/ND case 3:19-cv-00072 document 1-3 filed 02/04/19 page 1 of 4


PmHA Instruction 1951-1
'Exhibit A


                       UNITED STATES DEPARTMENT OF AGRICULTURE
                             FARMERS HOME ADMINISTRATION


                                  Subsidy Repayment Agreement


Date of Note10/1/92 Amount of Note$57,000             Date of mortgageOCTOBER 1,1992

Date of Note            Amount of Note                Date of mortgage
                                            ---                          ---------------
Type of assistance:     RH                            1. Interest credit /xI
                                                      2. Homeowners,ip ~sistance
                                                           Program_.___
Address of Property:          709 N. Nappanee
                              Nappanee, IN 46550

                  BORROWER:     BR.lAJ.'l" K. APPLE

               Co-BORROWER:      PAULA L. APPLE


1     This 1lgreement entered into pursuant to 7 CFR 1951-I, between the United
States of America, acting through the Farmers Home Admin~stration (FmHA)
(herein called "the Government") pursuant to section 521 of Title V of the
Housing Act of 1949 and the borrower(s) whose name(s) and address(es) appears
above (herein sometimes referred to as "borrower"), supplements the note(s)
,from borrower to the Government as described above, and any promissory
note(s) for loans made to borrower in the future by the Government.
Such future notes, when executed, will be li'sted below the signature line.
of this Subsidy Repayment Agreement.

2    I (we) agree to the conditions set forth in this agreement for the
repayment of the subsidy granted me (us) in the form of interest credits
or Homeownership Assistance Program (HOAP) subsidy (hereinafter called
"subsidy").

3    I (we) agree that the real property described in the mortgage(s)
listed above is pledged as security for repayment of the subsidy received
or to be received. I (we) agree that the subsidy is due and payable upon
the transfer of title or non-occupancy of the property by me (us). I
(we) understand that the real estate securing the loan(s) is the only
~curity for the subsidy received.   I (we) further understand that I (we)
will not be required to repay any of the subsidy from other than the value
(as determined by the Government) of the real estate, mortgaged by myself
(ourselves) in order to obtain a Section 502 Rural Housing (RH) loan.



 (Y-27-7~)   SPECIAL   P~



                                  EXHIBIT 3
USDC IN/ND case 3:19-cv-00072 document 1-3 filed 02/04/19 page 2 of 4


    FmHA Instruction 1951-I
    Exhibit A
    Page 2
    4    I (we) understand that so long as I (we) continue to own the property
    and occupy the dwelling as my (our) residence, I (we) may repay the principal
    and interest owed on the loan and defer repaying the subsidy amount until
    title to the property is conveyed or the dwelling is no longer occupied by
    me (us). If such a request is made, the amount of subsidy to be repaid
    will be determined when the principal and interest balance is paid. The
    mortgage securing the FmHA RH loan(s) will not be released of ~ecord until
    the total amount owed the Government has been repaid.

    5    I (we) agree that Paragraph 6 of this agreement is null and
    void should the property described in the mortgage(s) be voluntarily
    conveyed to the. Government or liquidated by foreclosure.

    6    ~~en the debt is satisfied by other than voluntary conveyance of the
    property to the Government or by foreclosure, I (we) agree that sale
    proceeds will be divided between the Government and me (us) in the
    following order:

         (a) Unpaid balance of loans secured by a prior mortgage as well as
         real estate taxes and assessments levied against the property which
         are due will be paid.

          (b) Unpaid principal and interest owed on FmHA RH loans· for the
         ·pcoperty and advances made by FmHA which were not subsidy and are
          still due and payable will be paid to the Government.

         (c) I (we) will receive from the sale proceeds actual expenses
         incurr.,.d by me (us) necessary to sell the property. l'hese may include
         sales commissions or advertising cost, appraisal fees, legal and
         related costs such as deed preparation and transfer taxes. Expenses
         incurred by me (us) in preparing the property for. sale are not al.lowed
         unless authorized by the Government prior to incurring such expenses.
         Such expenses will be authorized only when FmHA dete.rmines such expense::;
         are necessary to sell the property, or will likely result in a return
         greater than the expense being incurred.

         (d) 1 (we) will receive the amount of principal paid off on the
         loan calculated at the promissory note interest rate.

         (e) Any principal reduction attributed to subsidized interest
         calculations will be paid to the Goverrunent.

         (f)   I (we) will receive my original equity which is the differeQce
         be tween the mar~_t value of the security, as determined by the
         FmHA appraisal at the time the first loan subject to recapture of
         subsidy was made, and the amount of the FmHA loan(s) and any
         prior lien. This amount is     0             and represents
                      percent ·of the market value of the security. (The




                              EXHIBIT 3
        USDC IN/ND case 3:19-cv-00072 document 1-3 filed 02/04/19 page 3 of 4



      FmHA Instruction 1951-I
      Exhibit A
      Page 3


               percent is determined by dividing my (our) original equity by
               the market value of the security when the loan was closed.) The
               dollar amounts and percent will be entered at the time this agr~-·nent
               is signed by me (us) and will be part of this agreement.

           ·(g)     The remaining balance, aft.er the payments described in (a) thru (f)
               above have been paid is called value appreciation. The amount of
               value appreciation to be paid to the Government, in repayment or
               the subsidy granted, is t~e lesser of (1) the full amount of the subsidy or
               (2) ari amount determined ':·y multiplying the value appreciation by the
               appropriate factor in the following tabie.

                                Average interest rate paid by me (us)

No. of Months                   1.1       2 .1        J.l     4.1       5.1    6.1     7.1
the Loan was     1% or           to        to          to      to        to     to      or
Outstanding      Le:3S           2%        3%          4%      5%        6%     7i.   greater
 0 to 59          .78           .68       .60         • 51    .44       .32    .22     .11
 60 to 119        • 75          .66       .58         .49     .42       .31    .21     .11
 120 to 179       • 73          .63       ;s6         .48     .40       .30    .20     .10
 t80 to 239       .65           .56       .49         .42     .36       • 26   .18     .09
  40 to 299          .59        .51       .46         .38     .33       .24    .17     .09
 JOO to 359          .53        .45       .40         .34     • 29      .21    .14     .09
 360 to 396          .47        .40       .36         • 31    .26       .19    .13     .09

               (h) I (we) will receive the amount of value appreciation less the
               amount paid the Government as determined in (g) above. I (we) will
               also receive an additional amount in proportion to my original equity
               by reducing the amount of value appreciation due to the Government by
               the percent of my (our) original equity as shown in (f) above.

               (i)  If I (we) am the recipient of HOAP, the amount of value appreciation
               to be recaptured will be calculated as i f I (we) had paid 1 percent
               interest on the loan, unless the average interest rate paid by me (us)
               was greater than 1 percent. In such cases it will be determ:lned based
               on the average interest rate paid by me (us).

               (j)  If this agreement is for a subsequent loan(s) only, the amount
               of repayment determined in (g) above will be reduced by the following
               percent:   N/A        This percent will be determined by dividing the
               amount of the loan(s) subject to recapture by the total outstanding
               RH debt. This percentage will be entered at the time I (we) sign this
               agreement.

               (k) If this agreement is for more than one loan that is subject to
               recapture, the subsidy repayment computations will be based on the total
               subsidy granted on all loans.

       (~-2 7-79)          SPECIAL Pt~



                                                 EXHIBIT 3
USDC IN/ND case 3:19-cv-00072 document 1-3 filed 02/04/19 page 4 of 4




FMHA Instruction   1~51-I
Exhibit A
'Page 4


7     When a FmHA ~t loan is repaid hy other than f~recloaure, voluntary
conveyance, or sale of property, the amount of subsidy to be repaid the
Government will be determined in the ~a~ manner as rles~ribed in paragraph
6 of this Exhibit but based on the apprai•ed value deter~ined by FnRA
instead of sales prkl!!· In such cases, the Ruhsidy tfue the r.overnment
will remain a lien on the property until paid. It must be paid upon non
occupancy, sale, or transfer of title to the property~

8    I (we) have read a.r.d agree to the provisions of this agreement.


                            Borro~er


                            Co-Borrower


          Date signed



                                 ( FmHA Official)

                                 (Title)




                                          oOo




                              EXHIBIT 3
                USDC IN/ND case 3:19-cv-00072 document 1-4 filed 02/04/19 page 1 of 4
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Indiana


             UNITED STATES OF AMERICA
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No. 3:19cv00072
          BRIAN K. APPLE, PAULA L. APPLE                           )
          a/k/a Paula Loyd, n/k/a Paula Bowers                     )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Brian K. Apple
                                         528 River Ave., Apt 1
                                         Alma, MI 48801-1729




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         Deborah M. Leonard
                                         Assistant United States Attorney
                                         United States Attorney's Office-NDIN
                                         5400 Federal Plaza, Suite 1500
                                         Hammond, IN 46320

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
                  USDC IN/ND case 3:19-cv-00072 document 1-4 filed 02/04/19 page 2 of 4
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 3:19cv00072

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
                USDC IN/ND case 3:19-cv-00072 document 1-4 filed 02/04/19 page 3 of 4
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                     NorthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Indiana


             UNITED STATES OF AMERICA
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )       Civil Action No. 3:19CV00072
          BRIAN K. APPLE, PAULA L. APPLE                            )
          a/k/a Paula Loyd, n/k/a Paula Bowers                      )
                            Defendant
                                                                    )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Paula L. Bowers
                                         58720 County Road 1
                                         Elkhart, IN 46517-8977




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         Deborah M. Leonard
                                         Assistant United States Attorney
                                         United States Attorney's Office-NDIN
                                         5400 Federal Plaza, Suite 1500
                                         Hammond, IN 46320

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                  USDC IN/ND case 3:19-cv-00072 document 1-4 filed 02/04/19 page 4 of 4
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 3:19CV00072

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
 2JS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
                          USDC IN/ND case 3:19-cv-00072 document 1-5 filed 02/04/19 page 1 of 1
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                   United States of America                                                                      Brian K. Apple and Paula L. Apple, a/k/a Paula Shawgo, a/k/a Paula
                                                                                                                 Loyd, n/k/a Paula L. Bowers
      (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant Elkhart
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
Deborah M. Leonard, Assistant United States Attorney
USAO - 1300 South Harrison Street, Room 3128
Fort Wayne, IN 46802; Tel: (260) 422-2595
 II. BASIS OF JURISDICTION                             (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                               28 USC § 1345fc
 VI. CAUSE OF ACTION Brief description of cause:
                                              Federal Foreclosure
 VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER F.R.C.P. 23                                                                                                             JURY DEMAND:         u Yes     ✔
                                                                                                                                                                                       u No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                               DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   02/04/2019                                                             s/Deborah M. Leonard
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
